       Case 23-03138 Document 14 Filed in TXSB on 11/04/23 Page 1 of 3
                                                                             United States Bankruptcy Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                November 02, 2023
                          UNITED STATES BANKRUPTCY COURT                         Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 IN RE:                                        §
                                               §
                                               §
 ROBERT F. STRANGE JR.,                        § Case No. 23-32598
                                               §
                                               §     (Chapter 13)
 Debtor.                                       §
                                               §
 __________________________                    §
                                               §
                                               §
 ROBERT STRANGE, JR.                           §
                                               §
 Plaintiff,                                    §
                                               §
 v.                                            §     Adv. No. 23-03138
                                               §
 DEUTSCHE BANK                                 §
 NATIONAL TRUST                                §
 COMPANY, AS TRUSTEE,                          §
 IN TRUST FOR                                  §
 REGISTERED HOLDERS OF                         §
 LONG BEACH MORTGAGE                           §
 LOAN TRUST 2004-4,                            §
 ASSET-BACKED                                  §
 CERTIFICATES, SERIES                          §
 2004-4                                        §
                                               §
 Defendant.                                    §
        ORDER GRANTING UNOPPOSED MOTION TO EXTEND DEADLINE

       Upon consideration of the Unopposed Motion to Extend Deadline filed by Plaintiff, the

Court hereby grants said Motion. It is therefore

       ORDERED that the deadline for Plaintiff to file his UHVSRQVHWR'HIHQGDQW¶V0RWLRQWR

Dismiss is hereby extended to November 2, 2023.

       Signed this ____ Day of _______________________, 2023.

           August 02,
           November 01,2019
                        2023



                                                   1
                       Case 23-03138 Document 14 Filed in TXSB on 11/04/23 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
Strange, Jr,
       Plaintiff                                                                                                       Adv. Proc. No. 23-03138-cml
Deutsche Bank National Trust Company, As,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: Nov 02, 2023                                               Form ID: pdf002                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 04, 2023:
Recip ID                 Recipient Name and Address
dft                    + Deutsche Bank National Trust Company, As Trustee,, 1761 E Saint Andrew Place, Santa Ana, CA 92705-4934
pla                    + Robert Strange, Jr, 5531 Cedar Creek Drive, Houston, TX 77056-2307

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cc               *+            Deutsche Bank National Trust Company, As Trustee,, 1761 E Saint Andrew Place, Santa Ana, CA 92705-4934
cd               *+            Robert Strange, Jr, 5531 Cedar Creek Drive, Houston, TX 77056-2307

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 04, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 2, 2023 at the address(es) listed
below:
Name                               Email Address
Jason Andrew LeBoeuf
                                   on behalf of Plaintiff Robert Strange Jr jason@leboeuflawfirm.com

Jason Andrew LeBoeuf
                                   on behalf of Counter-Defendant Robert Strange Jr jason@leboeuflawfirm.com

Michael L Weems
                                   on behalf of Counter-Claimant Deutsche Bank National Trust Company As Trustee, in trust for registered Holders of Long Beach
                                   Mortgage Loan Trust 2004-4, Asset-Backed Certificates, Series 2004-4 mlw@hwa.com
                  Case 23-03138 Document 14 Filed in TXSB on 11/04/23 Page 3 of 3
District/off: 0541-4                                       User: ADIuser                                                            Page 2 of 2
Date Rcvd: Nov 02, 2023                                    Form ID: pdf002                                                         Total Noticed: 2
Michael L Weems
                          on behalf of Defendant Deutsche Bank National Trust Company As Trustee, in trust for registered Holders of Long Beach
                          Mortgage Loan Trust 2004-4, Asset-Backed Certificates, Series 2004-4 mlw@hwa.com


TOTAL: 4
